 Case
  Case2:11-cr-00223-JAD-CWH
        2:11-cr-00223-JAD-CWH Document
                              Document244  Filed01/15/15
                                       243 Filed 01/15/15 Page
                                                           Page11
                                                                ofof
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     Nevada Bar No. 8796
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 3   Las Vegas, Nevada 89148
     Tel.: (702) 362-8500
 4   Fax: (702) 362-8505
     Melanie@MelanieHillLaw.com
 5   Attorney for Defendant Jackie Lee Newsome
 6
 7                                UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9                                                  ***
10    UNITED STATES OF AMERICA,                         Case No.: 2:11-cr-223-JAD-CWH-1
                                                        Case No.: 2:12-cr-145-JAD-GWF-2
11                        Plaintiff,
                                                        STIPULATION TO CONTINUE
12    v.                                                SENTENCING HEARING
13    JACKIE LEE NEWSOME,                               (Seventh Request)
14                         Defendant.
15
16          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United
17   States Attorney, and Kimberly Frayn, Assistant United States Attorney, counsel for the United States
18   of America, and Melanie A. Hill, counsel for defendant JACKIE LEE NEWSOME, that the
19   sentencing hearing currently scheduled for January 21, 2015, at the hour of 10:00 a.m. be vacated
20   and continued at least thirty (30) days to a date and time convenient to this court on a Monday,
21   Wednesday, or Friday morning. Counsel for Mr. Newsome requests that the sentencing hearing be
22   set in the morning to accommodate Mr. Newsome’s long-time girlfriend and mother of his 14 year
23   old son, Rhonda Hickman’s, afternoon work schedule. Ms. Hickham would like to attend the
24   sentencing hearing and speak on Mr. Newsome’s behalf. Mr. Newsome also requests that his
25   sentencing hearing be scheduled on a Monday, Wednesday, or Friday to accommodate his current
26   dialysis schedule.
27   ///
28   ///
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  Case2:11-cr-00223-JAD-CWH
        2:11-cr-00223-JAD-CWH Document
                              Document244  Filed01/15/15
                                       243 Filed 01/15/15 Page
                                                           Page22
                                                                ofof
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 1          This Stipulation is entered into for the following reasons:
 2          1.      Counsel for the Defendant, Melanie Hill, and counsel for the Government, Kimberly
 3   Frayn, are awaiting the determination by the 5K committee of the Government’s recommended
 4   sentence and anticipate that a decision will be made on January 20, 2015, the day before the current
 5   scheduled sentencing. Once the recommendation is made, counsel for Mr. Newsome needs
 6   additional time to prepare his sentencing memorandum based on the Government’s recommended
 7   sentence.
 8          2.      The parties have been diligent in obtaining the information needed by the committee
 9   regarding Mr. Newsome’s current medical status, however, unanticipated delays occurred as detailed
10   herein. Counsel for Mr. Newsome was waiting for letters from Mr. Newsome’s treating physicians
11   to provide to counsel for the Government regarding the severity of Mr. Newsome’s medical
12   conditions and Mr. Newsome’s prognosis. However, due to a closing of Mr. Newsome’s primary
13   care physicians’s office for a week during the holidays and the doctor’s busy schedule, the letters
14   were not received until December 23, 2014 and January 6, 2015. Additionally, Mr. Newsome has
15   recently been referred to an additional specialist this week and counsel is in the process of obtaining
16   a letter from Mr. Newsome’s newest specialist. Counsel for Mr. Newsome is also obtaining an
17   additional letter from Mr. Newsome’s primary care physician regarding his daily medications and
18   the impact on his health if he is taken off any of his medications if incarcerated at the Bureau of
19   Prisons. This newest request regarding medications is based on recent charges to Mr. Newsome’s
20   heath and necessity to meet with a new specialist.
21          3.      Counsel for the Government was delayed in seeking approval from the committee
22   due to her and her supervisor’s participation in a week long evidentiary hearing in one of her other
23   federal criminal cases during the week of December 15, 2014 that was scheduled after the November
24   19, 2014 status conference in this case.
25          4.      The defendant is out on a PR bond and does not object to the continuance.
26          5.      The parties agree to the continuance.
27          6.      The additional time requested herein is not sought for purposes of delay, but to allow
28   counsel for both parties additional time to prepare for the sentencing hearing in this case after both

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 Case
  Case2:11-cr-00223-JAD-CWH
        2:11-cr-00223-JAD-CWH Document
                              Document244  Filed01/15/15
                                       243 Filed 01/15/15 Page
                                                           Page33
                                                                ofof
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 1   parties receive the Government’s 5K/3553(e) sentencing determination by the 5K committee next
 2   week. Thereafter, both counsel can finalize their sentencing memorandums and file them with the
 3   Court.
 4              7.     Additionally, denial of this request for continuance could result in a miscarriage of
 5   justice.
 6              This is the seventh request to continue the sentencing hearing filed herein.
 7              DATED this 15th day of January, 2015.
 8
 9         LAW OFFICE OF MELANIE HILL                            DANIEL G. BOGDEN
           Appointed Counsel                                     United States of America
10
            /s/ Melanie A. Hill                                        /s/ Kimberly Frayn
11   By:                                                      By:
        MELANIE A. HILL                                             KIMBERLY FRAYN
12      Counsel for Defendant Jackie Lee Newsome                    Assistant United States Attorney
                                                                    Counsel for the Plaintiff
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  Case2:11-cr-00223-JAD-CWH
        2:11-cr-00223-JAD-CWH Document
                              Document244  Filed01/15/15
                                       243 Filed 01/15/15 Page
                                                           Page44
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                                  UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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 8    UNITED STATES OF AMERICA,                           Case No.: 2:11-cr-223-JAD-CWH-1
                                                          Case No.: 2:12-cr-145-JAD-GWF-2
 9                        Plaintiff,
                                                          FINDINGS OF FACT, CONCLUSIONS
10    v.                                                  OF LAW, AND ORDER

11    JACKIE LEE NEWSOME,

12                         Defendant.

13
14
                                          FINDINGS OF FACT
15
             Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
16
     finds that:
17
             1.     Counsel for the Defendant, Melanie Hill, and counsel for the Government, Kimberly
18
     Frayn, are awaiting the determination by the 5K committee of the Government’s recommended
19
     sentence and anticipate that a decision will be made on January 20, 2015, the day before the current
20
     scheduled sentencing. Once the recommendation is made, counsel for Mr. Newsome needs
21
     additional time to prepare his sentencing memorandum based on the Government’s recommended
22
     sentence.
23
             2.     The parties have been diligent in obtaining the information needed by the committee
24
     regarding Mr. Newsome’s current medical status, however, unanticipated delays occurred as detailed
25
     herein. Counsel for Mr. Newsome was waiting for letters from Mr. Newsome’s treating physicians
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     to provide to counsel for the Government regarding the severity of Mr. Newsome’s medical
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     care physicians’s office for a week during the holidays and the doctor’s busy schedule, the letters


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  Case2:11-cr-00223-JAD-CWH
        2:11-cr-00223-JAD-CWH Document
                              Document244  Filed01/15/15
                                       243 Filed 01/15/15 Page
                                                           Page55
                                                                ofof
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 1   were not received until December 23, 2014 and January 6, 2015. Additionally, Mr. Newsome has
 2   recently been referred to an additional specialist this week and counsel is in the process of obtaining
 3   a letter from Mr. Newsome’s newest specialist. Counsel for Mr. Newsome is also obtaining an
 4   additional letter from Mr. Newsome’s primary care physician regarding his daily medications and
 5   the impact on his health if he is taken off any of his medications if incarcerated at the Bureau of
 6   Prisons. This newest request regarding medications is based on recent charges to Mr. Newsome’s
 7   heath and necessity to meet with a new specialist.
 8              3.     Counsel for the Government was delayed in seeking approval from the committee
 9   due to her and her supervisor’s participation in a week long evidentiary hearing in one of her other
10   federal criminal cases during the week of December 15, 2014 that was scheduled after the November
11   19, 2014 status conference in this case.
12              4.     The defendant is out on a PR bond and does not object to the continuance.
13              5.     The parties agree to the continuance.
14              6.     The additional time requested herein is not sought for purposes of delay, but to allow
15   counsel for both parties additional time to prepare for the sentencing hearing in this case after both
16   parties receive the Government’s 5K/3553(e) sentencing determination by the 5K committee next
17   week. Thereafter, both counsel can finalize their sentencing memorandums and file them with the
18   Court.
19              7.     Additionally, denial of this request for continuance could result in a miscarriage of
20   justice.
21              8.     This is the seventh request to continue the sentencing hearing filed herein.
22                                         CONCLUSIONS OF LAW
23              For all of the above-stated reasons, the ends of justice would best be served by a continuance
24   of the sentencing hearing.
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  Case2:11-cr-00223-JAD-CWH
        2:11-cr-00223-JAD-CWH Document
                              Document244  Filed01/15/15
                                       243 Filed 01/15/15 Page
                                                           Page66
                                                                ofof
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 1                                             ORDER
 2          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for January
 3                                                                    Monday, February 23, 2015,
     21, 2015, at the hour of 10:00 a.m. be vacated and continued to ____________________________at
 4   the           ____ : _____ ___.m.
         hour ofa.m.
     at 11:00
 5
            DATED this ____
                        15thday
                             dayofof
                                  January, 2015.
                                     January, 2015.
 6
 7                                              ________________________________
 8                                              JENNIFER A. DORSEY
                                                UNITED STATES DISTRICT JUDGE
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